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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                     AT LONDON


                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 )          Criminal No. 11-16-GFVT
        Plaintiff,                               )
                                                 )
 V.                                              )                   ORDER
                                                 )
 SAMUEL KEITH MILLER,                            )
                                                 )
        Defendant.                               )
                                                 )
                                                 )


                                      *** *** *** ***

       This matter is before the Court upon the reported violations of supervised release

conditions by Defendant Samuel Keith Miller. This issue was referred to Magistrate Judge

Hanly A. Ingram [R. 244], who conducted a hearing pursuant to Federal Rule of Criminal

Procedure 32.1(b). [R. 243]. Following this hearing, Judge Ingram prepared a Recommended

Disposition, in which he recommended revocation and imprisonment for a term of six months

based on the violations found, with a three-month term of supervised release under the

conditions previously imposed to follow, with the additional condition that Defendant reside at a

halfway house for the duration of the term. [R. 245].

       Pursuant to 28 U.S.C. § 636(b)(1), a party has fourteen days after being served with a

copy of the Recommended Disposition to file a specific written objection. Upon receiving an

objection by a party, this Court must conduct a de novo review of the portion of the

Recommended Disposition to which the party specifically objected. However, as Judge Ingram
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warned in his Recommended Disposition, “Failure to make timely objection consistent with this

statute and rule may, and normally will, result in waiver of further appeal to or review by the

District Court or Court of Appeals. See United States v. Walters, 638 F.2d 947, 950 (6th Cir.

1981); Thomas v. Arn, 106 S. Ct. 466 (1985).” [R. 184].

       As the period for the Defendant to file his objections to the Recommended Disposition

has passed and no objection has been raised, the Defendant has effectively waived any rights he

might have had to de novo review by this Court or an appeal in the Court of Appeals. Further,

the Defendant has also filed a waiver of allocution [R. 253], expressly waiving any right he

might have had to a hearing prior to a final judgment by this Court. Therefore, the Court having

now reviewed the Recommended Disposition, hereby accepts the recommendation of the

Magistrate Judge and adopts it as and for the opinion of this Court.

       Accordingly, it is hereby ORDERED as follows:

       1.      The Magistrate Judge’s Recommended Disposition [R.245] is ADOPTED as and

for the opinion of this Court;

       2.      The Defendant’s supervised release is revoked in favor of imprisonment for a

term of six months based on the violations found, with a three-month term of supervised release

under the conditions previously imposed to follow, with the additional condition that Defendant

reside at a halfway house for the duration of the term; and

       3.      An Amended Judgment shall be entered.

       This 3rd Day of September, 2014.




                                                 2
